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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JENNIFER FENTON
1126 Diamond Avenue
Scranton, PA 18508
CIVIL ACTION
Plaintiff,
No.:

V.

DOLLAR TREE STORES, INC., d/b/a :

DOLLAR TREE : JURY TRIAL DEMANDED
500 Volvo Parkway :

Chesapeake, VA 23320

Defendant.

CIVIL ACTION COMPLAINT

Plaintiff, Jennifer Fenton, by and through her undersigned counsel, hereby avers as
follows:

I. INTRODUCTION

1. Plaintiff has initiated this action to redress violations by Dollar Tree Stores, Inc.,
d/b/a Dollar Tree for violations of the Family and Medical Leave Act (“FMLA — 29 U.S.C. §§
2601, et. seq.). Plaintiff was unlawfully terminated by Defendant, and she suffered damages
more fully described/sought herein.

I. JURISDICTION AND VENUE

2. This Court, in accordance with 28 U.S.C. § 1331, has jurisdiction over Plaintiffs
claims because this civil action arises under laws of the United States.

3. This Court may properly maintain personal jurisdiction over Defendant because
Defendant’s contacts with this state and this judicial district are sufficient for the exercise of

jurisdiction over Defendant to comply with traditional notions of fair play and substantial justice,
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satisfying the standard set forth by the United States Supreme Court in International Shoe Co. v.

Washington, 326 U.S. 310 (1945) and its progeny.

4. Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this
district because all of the acts and/or omissions giving rise to the claims set forth herein occurred
in this judicial district, and in addition, Defendant is deemed to reside where it is subject to

personal jurisdiction, rendering Defendant a resident of the Middle District of Pennsylvania.

Il. PARTIES
5. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
6. Plaintiff is an adult individual, with an address as set forth in the caption.
7. Dollar Tree Stores, Inc., d/b/a Dollar Tree (“Defendant”) is a nationwide retailer

headquartered in Virginia at the above-captioned address. Defendant operates more than 10,000
locations and regularly employs in excess of 10,000 employees as well.

8. At all times relevant herein, Defendant acted by and through its agents, servants
and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendant.

IV. FACTUAL BACKGROUND

9. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.
10. Plaintiff was hired by Defendant effective on or about September 6, 2006; and in

total, Plaintiff was employed with Defendant for approximately 15 years.
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11. Plaintiff was employed with Defendant as a Store Manager, and she was overseen
by Manav (a/k/a Romy) Mehta (“Mehta”). Mehta was a Regional Director of Defendant
overseeing stores such as the one wherein Plaintiff was employed.

12. Plaintiff worked for Defendant as a Store Manager at its 610 Commerce
Boulevard, Wilkes-Barre Township, PA 18702 location (the “Wilkes-Barre location”).

[A] Plaintiff's Wrongful Termination Claim

13. Plaintiff's last day of physical work with Defendant was on or about February 13,
2021.

14. Plaintiff required a medical leave of absence commencing in mid-February 2021
because she had to provide care for her son whose initials are “CS.”! CS suffers from severe
autism, is unable to care for himself, and although he is 15 years old, he has the mentality of an
approximate 5-year-old child. CS has many other health-related complications as well.

15. During (and due to) the COVID-19 pandemic, Plaintiff lost a long-term and
qualified caregiver who cared for her son. Plaintiff's son, CS, requires 7-day per week, 24-hour
per day oversight and care. Plaintiff was at all relevant times a single mother (as CS’s father
died).

16. Plaintiff informed Mehta and Defendant’s human resources of her need to provide
medical care for her son. She kept them apprised of such medical-care needs in February and
March (within the late winter and spring of 2021).

17. Through all of 2021, Plaintiff was FMLA eligible, as she: (a) worked for a large

enough employer engaging in interstate commerce; (b) worked at least 1,250 hours in the

' Initials are used herein because Plaintiff’s son is a minor and for legally-permissible privacy purposes.
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preceding year; (c) had been employed for well in excess of one (1) year; and (d) her son
indisputably had serious health conditions as defined by the FMLA.

18. Plaintiff was grossly misled and misinformed by Mehta and Defendant’s human
resources department about her FMLA rights, entitlements, and ability to exercise her FMLA
leave. As a direct, proximate and actual cause of Defendant’s misinformation and unlawful
directives, Plaintiff?s termination ensued as follows.

19. Plaintiff was informed by Defendant’s management that from mid-February 2021
through March 12, 2021 she was to use her accrued sick, PTO or vacation time. Plaintiff was
informed she would then be potentially eligible for FMLA coverage after accrued or paid-time
off exhaustion.

20. ‘Plaintiff had attempted to submit FMLA paperwork supporting her need for
medical leave. However, Plaintiff was told by Mehta and Defendant’s human resources
personnel that she was not permitted to use FMLA from mid-March 2021 and thereafter unless
she could provide an “exact return date.” In fact, they demanded due to business needs that she
only submit FMLA information if she could return by no later than the first week of April, 2021.

21. In discussions with Mehta and Defendant’s human resources, Plaintiff was told
she was point-blank prohibited from submitting for or using FMLA as of mid-March and
thereafter due to her inability to identify an “exact return date.” Plaintiff was attempting to
arrange for alternative medical care for her son as quickly as possible so she could resume
working. She pleaded with Defendant’s management explaining she could not give an exact date
or commit to a definite return as (unlawfully) required in the first week of April, 2021.

22. Plaintiff was also told in no uncertain terms as of March 2021 by Mehta and

human resources that her FMLA would be denied for inability to provide an “exact return date,”
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and thus she would no longer be working. By the end of March 2021, Plaintiff was operating
under the assumption that she was no longer employed with Defendant and effectively
terminated.

23. By letters dated April 5, 2021, Plaintiff received a flurry of notices from
Sedgwick Claims Management (“Sedgwick”). One notice identified Plaintiff had been on
approved FMLA from February 12, 2021 through March 13, 2021. Another (separate notice)
identified Plaintiff was denied FMLA leave from March 14, 2021 through April 5, 2021 for
insufficient “supporting documentation.” It was as if Defendants elected to address Plaintiff's
FMLA requests from 1-2 months earlier all at one time (in early April, 2021) after she had
already been told she couldn’t use FMLA and was effectively terminated.

24. Plaintiff was not sent multiple types of notices, rights, expectations, or obligations
within 5 days or as soon as practicable mandated within the FMLA regulations. And Plaintiff
was misled that in order for her to utilize FMLA she has to specific an exact date of return.

Indeed, the FMLA protects and employee’s job for up to 12 weeks by federal law regardless of

whether a date is specified for return.

25. Plaintiff was functionally terminated (regardless of how it was characterized
within Defendant’s employment database or system) within approximately a month of using
FMLA.

26. Had Plaintiff been properly placed on FMLA and not informed of her prohibition
from using FMLA under false pretenses, Plaintiff would have found alternative care for her child
within 12 weeks from leave commencement. In fact, Plaintiff should have been eligible for
FMLA through the first half of May, 2021 Gf FMLA commenced in mid-February or through

early June, 2021 if FMLA commenced in mid-March, 2021).
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27. Plaintiff was thus terminated by Defendant during FMLA-qualifying leave
unlawfully. Defendant’s FMLA violations were so egregious, Plaintiff had even offered to work
a reduced schedule or part-time due to care needs for her child. But Plaintiff was not offered
intermittent or reduced-schedule leave (other express forms and entitlements of FMLA leave
mandated under such regulations). Such actions and omissions constitute both interference and
retaliation.

[B] Wrongful / Retaliatory Non-Rehire or Reinstatement

28. In early November of 2021, Plaintiff learned that a store manager would be
needed in a grossly underperforming store for Defendant (a geographically close but different
store than her prior Wilks-Barre location).

29. Plaintiff spoke with Mehta on or about November 9, 2021 who confirmed he was
hiring a store manager at an underperforming location. Plaintiff had substantially repaired the
reputation and income generation at this same location in the past (years prior). It had since
drastically deteriorated under subsequent management.

30. Mehta led Plaintiff to believe that she could commence employment and would be
hired effective November 22, 2021. Plaintiff was informed however that instead of her prior
salary she would earn $50,000.00 per year. Strong desiring any reemployment, Plaintiff accepted
the salaried position as store manager for Defendant.

31. Leading up to November 22, 2021, Plaintiff was not being contacted or having
any of her calls returned (after November 9, 2021 discussions). She only knew that: (a) a store
manager was being hired; (b) she had a start date per her call with Mehta; and (c) she was to

commence employment at a reduced salary at a set location on November 22, 2021. Her hiring
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terms were clear, as was her start date. But she was not being provided with any follow-up
confirming correspondence or HR-related documentation.

32. Being a consummate professional and to be prepared, Plaintiff stopped by the
store where she was supposed to commence working a few days early (on or about November
20, 2021). She just wanted to see the store layout, to know what she was getting into, and was
even hopeful Mehta may have been there to talk to her. It was a disaster in that store and being
run awfully (and Mehta was not present).

33. On or about November 21, 2021, 1 day before Plaintiff was to be reinstated or
rehired, Plaintiff was finally contacted by Mehta. Mehta told Plaintiff Defendant decided not to
reemploy her for any position, including as a store manager.

34. Plaintiff was not reinstated or rehired in November of 2021 at a different location
in retaliation for her prior FMLA usage, FMLA exercise, and FMLA needs. Upon information
and belief, Defendant reconsidered using Plaintiff and decided not to hire her for unlawful
retaliatory criteria as aforesaid.

First Cause of Action

Violations of the Family and Medical Leave Act ("FMLA")
(Interreference & Retaliation)

35. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

36. Plaintiff was an eligible employee under the definitional terms of the FMLA, 29
U.S.C. § 2611.

37. Defendant committed violations of the FMLA by: (1) terminating Plaintiff in
retaliation for requesting, needing, and/or utilizing FMLA-qualifying leave; (2) failing to follow

many regulations of the FMLA in advising Plaintiff of her rights, entitlements, obligations and
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other mandatory notices; (3) lying or falsely stating requirements of the FMLA that did not exist
to Plaintiff's detriment or prejudice; (4) not reinstating Plaintiff within 12 weeks, as she could
have returned if permitted proper FMLA leave; (5) by illegally denying FMLA leave to Plaintiff;
and (6) by failing to reinstate or rehire Plaintiff in November of 2021.

38. These actions as aforesaid constitute violations of the FMLA.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. Defendant is to promulgate and adhere to a policy prohibiting discrimination,
interference and retaliation in the future against any employee(s);

B. Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff
whole for any and all pay and benefits Plaintiff would have received had it not been for
Defendant’s illegal actions, including but not limited to back pay, front pay, salary, pay
increases, bonuses, insurance, and benefits.

C. Plaintiff is to be awarded actual damages, as well as damages for the pain,
suffering, and humiliation caused by Defendant’s actions;

D. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper, and appropriate; and

E. Plaintiff is to be awarded the costs and expenses of this action and a reasonable
attorney’s fees as provided by applicable federal and state law.

Respectfully submitted,

KARPF, KARPK & CERUTTI, P.C.
By:

Ari R. Karpf, Esq.
3331 Street Rd.
Bldg. 2, Ste. 128
Bensalem, PA 19020

Date: January 3, 2021
